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IN THE UNITED sTATEs DISTRICT COURT “'I,g,,
FoR THE WESTERN DISTRICT oF TENNES sEE 4 _i, 49 »
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RUSSELL WELLINGTON, v‘O/;y”/
Plaintiff, 1 '
vs. No. 04-1331-'r/An

C.O. MANESS, et al.,

Det`endants.

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ORDER DENYING MOTION TO PROCEED _IN_ FORMA PAUPERIS
ORDER ASSESS[NG FILING FEE
ORDER OF DISMISSAL
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH
AND
ORDER REAFFIRMING PREVIOUS AND IMPOSING FURTHER SANCTIONS

 

Plaintiff, Russell Wellington, prisoner number 122766, an inmate at the Turney
Center Industrial Prision (“TCIP”) , has filed another complaint1 and amended complaint
under 42 U.S.C. § 1983, along with a motion to proceed in forma pauperis The Clerk shall

record the defendants as Correctional Ofticer Maness, L. Martine, A. Jones, T. Woods,

 

l Wellington has previously filed five civil rights actions. Thrce of those actions were dismissed as

frivolous

l. Wellington v. Compton, No. 93-2152-Ml/Br0 (W.D. Tenn. l993)(dismissing § 1983 on
various defendants’ Rule lZ(b)(G) and 56 motions).

2. Wellington v. Compton, No. 94-2138-H/A (W.D. Tenn. 1994)(disinissing § 1983 action as
frivolous under 28 U.S.C. § 1915(¢;{);

3. Wellington v. Compton, No. 94-3039-H/A (W.D. Tenn. l995)(disrnissing § 1983 action as
frivolous under 23 U.S.C. § 1915(d) after opportunity to amend);

4. Wellington v. Compton, No. 94-817 (M.D. Tenn. l995)(dismissing § 1983
complaint as frivolous under § 1915(d); and

5. Wellington v. Conley, No. 96-3092-Df\/' (W.D. Tenn. l996)(dismissing § 1983 complaint
under 28 U.S.C. § l915(g)).

Th'ls document entered on the docket iga t‘/>|§i §m?§ance
with Rule 58 and,’or_79 (a) FRCP on __ _ j l , 2

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Corrections Corporation of America (CCA), and Hardeman County Correctional Facility
(HCCF) Medical Department.

Wellington is not entitled to proceed under § 1915(b) of` the Prison Litigation Reform
Act of 1995 (PLRA), Title VIII ofPub. L. 104-134, 110 Stat. 1321 (1996), which provides
that the filing fee may be paid in installments, however, because another provision of` the
PLRA, 1915(g), severely restricts plaintiffs filing privileges Section 191 5(g) provides:

In no event shall a prisoner bring a civil action or appeal a judgment in a civil
action or proceeding under this section if the prisoner has, on 3 or more prior
occasions, Whi]e incarcerated or detained in any facility, broulglht an action or
appeal in a court of the United States that was dismissed on t e grounds that
it is frivolous, malicious, or fails to state a claim upon which relief may be
granted, unless the prisoner is under imminent danger of` Serious physical

injury.
28 U.S.C. § 1915(g). Section 191 S(g) operates to bar prisoners from filing further i_n forma

 

M actions based on dismissals entered before the statute was enacted Wilson v.
M, 148 F.3d 596, 604 (6th Cir. 1998); Green v. Nottingham, 90 F.3d 415, 420 (10th
Cir. 1996).

ln Wellington v. Conley, No. 96-3092-D/V (W.D. Tenn. Dec. 19, 1996), the Court
notified Wellington that he is no longer eligible to file in foM M actions unless he
“is under imminent danger of serious physical injury.” ln accordance with the order entered
Dec. 19, 1996, unless Wellington can demonstrate that he is now under imminent danger of
serious physical injury, he cannot proceed under § 1915(b).

The threshold requirement for a prisoner seeking to demonstrate that he is exempt
from § 1915(g) restrictions is an allegation of` "imminent danger of serious physical harm."
See Pigg v. Federal Bureau of Investigation, 106 F.3d 1497, 1497 (10th Cir. 1997);
Adepegba v. Hammons, 103 F.3d 383, 385 (5th Cir. 1996); Abdul-Wadood v. Nathan, 91
F.3d 1023, 1025 (7th Cir. 1996). In determining the "imminence" of the danger, the courts
look at the risk as of the time the complaint is filed, not when the alleged incident occurred.

Ashley v. Dillworth, 147 F.3d 715, 717 (8th Cir. l998)(holding that “statute's use of` the

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present tense verbs "bring" and "is" demonstrates . . . prisoner is only eligible . . . if he is in
imminent danger at the time of filing"); Banos v. O‘Guinn, 144 F.3d 883, 884 (Sth Cir.
l998)(holding the "plain language of the statute leads us to conclude that a prisoner with
three strikes is entitled to proceed with his action or appeal only if he is in imminent danger
at the time that he seeks to file his suit"). See also Chovce v. Doming_iM, 160 F.3d 1068,

1071 (Sth Cir. l998)(following Banos and noting inconsistency in district court

 

determination that district court filing was barred by § 1915(g) while simultaneously

 

granting leave to proceed in_ tim pa_ulm on appeal).

Appellate courts that have found or even questioned the existence of an imminent
danger have all dealt with a serious risk of personal attack by other inmates. E @yg,
160 F.3d at 1069 (plaintiff subjected, seventeen months before filing case, to repeated
beatings by prison guards); A_shlg;, 147 F.3d at 717 (plaintiff attacked with a sharpened,
nine-inch screwdriver after prison officials allegedly failed to protect him) ; Gibbs v. Roman,
116 F.3d at 84 (plaintiff allegedly attacked by inmates after employee revealed he was a
government informant).

Wellington alleges he was subjected to excessive force by defendants Maness,
Woods, and Jones on November 8, 2004, during a fire in the segregation unit. He alleges
that Maness sprayed him in the face with a fire extinguisher, Woods threatened him with
pepper spray and directed that he be handcuffed, and J ones also threatened him with pepper
spray and advised him he did not have time to address his medical complaints Wellington
alleges that Maness left his name off the list for medical attention and directed the nurse who
came to the unit to tell plaintiff to sign up for sick call. Wellington alleges that he did not
receive medical treatment for one week. He alleges that a male nurse gave him eyedrops
after looking at his eyes but did not address his other complaints Wellington alleges that
he developed painful sores in his nostrils and continues to have shortness of breath.

Wellington alleges that the medical department stopped his blood pressure medication on

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December 8, 2004. He also alleges that defendant Martin refused to process his grievance
on November 8, 2004. Wellington’s amended complaint names CCA and the HCCF
Medical Department as defendants and cites numerous instances of either denial of or
inadequate medical treatment from October 13, 2003 until November 18, 2003.

Wellington filed the complaint on December 15, 2004, and the amended complaint
on January 11, 2005. Wellington does not articulate any fact demonstrating that he was
subjected to the use of force by the defendant officers on any occasion other than during the
fire or that he is presently at risk of attack, injury, or harm. Plaintiff alleges that the
defendants refuse to give him proper medical treatment and have discontinued his blood
pressure medication Although he alleges he suffered from dizzy spells and headaches when
the medication was discontinued in 2003, he relates no symptoms or ill effects from the
discontinuation of his blood pressure medication on December 8, 2004.

Wellington’s allegations do not demonstrate that he is presently at risk of attack,
injury, or harm. Accordingly, plaintiff fails to demonstrate that he is presently at risk or "in
imminent danger of serious physical injury and the motion to proceed i_n Ml_n___a pa_ujm is

DENIED. Even if plaintiffs i_n forma pauperis privileges were not barred by § 191 S(g), or

 

even if he prepaid the full filing fee, this complaint would still be dismissed under 42 U.S.C.
§ 1997e(a), as Wellington’ s complaint contains multiple issues and his allegations are clearly
insufficient to satisfy the exhaustion requirements of § l997e(e).2 Brown v. Toombs, 139

F.3d 1102 (6th Cir. 1998).

 

2 Wellington attached a grievance to his complaint about the November 8“‘ incident which names

Woods, Maness, and Jones. The grievance was rejected because all copies were not “readable.” Plaintiff attached
copies of rejection notices for grievances that he filed regarding law books, legal work, a care package, and loss of
property. He does not attach, nor does he allege that he tiled, a grievance against Martin for her refusal to process his
grievance He does not attach, nor does he allege that he filed, a grievance for the denial of medical care on November
8, 2004, or for the discontinuation of his blood pressure medicine on December 8, 2004. Although he alleges in the
amended complaint that “he has filed numerous grievances” for the lack of adequate medical treatment, he does not
attach those grievances or relate the person named in the grievance, the specific issues raiscd, or dates the grievances
were filed

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Accordingly, the complaint is DISMISSED under 28 U.S.C. § 1915(g) and 42 U.S.C.
§ l997e(a). Plaintiff is, however, liable to the Court for the full $150.00 filing fee,3 The
filing fee in the amount of $150 shall be immediately withdrawn from Wellington's trust
fund account at the TCIP. lf the account contains less than 8150, all amounts in the account
shall be immediately withdrawn and forwarded to the Court until the filing fee is paid in full.
As funds accumulate in plaintiffs trust fund account, those amounts shall be withdrawn from
plaintiffs account and forwarded to the Clerl< of the Court.

The next issue to be addressed is whether plaintiff should be allowed to appeal this
decision i_n w pgpMs TWenty-eight U.S.C. § 1915 (a)(3) provides that an appeal may
not be taken i_n fo_n_na pa_uM if the trial court certifies in writing that it is not taken in good
faith.

The good faith standard is an objective one. Cot)t)edge v. United States, 369 U.S.
438, 445 (1962). An appeal is not taken in good faith if the issue presented is frivolous Ll_.
Accordingly, it would be inconsistent for a district court to determine that a complaint is too
frivolous to be served, yet has sufficient merit to support an appeal i_n m M. §_e_e
Williams v. Kullman, 722 F.2d 1048, 1050 n.l (2d Cir. 1983). The same considerations that
lead the Court to dismiss this case under § 1 915(g) also compel the conclusion that an appeal
would be barred by § 1915(g). An appeal that would be barred by § 1915(g) lacks an
arguable basis in law for proceeding i_n fo_rr_n_a p_appLis, and would disentitle the appellant
to proceed i_n fer_t_t p_a_uMs_.

lt is therefore CERTIFIED, pursuant to 28 U.S.C. § 1915(a)(3) and § 1915(g), that

any appeal in this matter by plaintiff is not taken in good faith, and plaintiff may not proceed

 

on appeal ip forma pauperis

 

3 This obligation to pay the entire filing fee accrued at the moment plaintiff filed the complaint with
the Court, which, in this case, was the moment he deposited his complaint in the prison mail system. Plaintiff cannot
avoid this obligation because the case is dismissed as frivolous Furthennore, this fee shall be assessed against plaintist

account at the prison without regard to other obligations whenever there is any money in his account,

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The next matter to be addressed is the assessment of a filing fee if plaintiff appeals
the dismissal of this case. The United States Court of Appeals for the Sixth Circuit has held
that a certification that an appeal is not taken in good faith does not affect an indigent
prisoner plaintiffs ability to take advantage of the installment procedures contained in §
1915(b). McGore v. Wrigglesworth, 114 F.3d 601, 610-11 (6th Cir. 1997). M Sets
out specific procedures for implementing the PLRA. However, as noted, 28 U.S.C. §
1915(g) bars him from taking an appeal under § 1915(b). M, 90 F.3d at 417.
Accordingly, if Wellington files a notice of appeal, the Clerk is ORDERED to assess and
collect the entire fee of 8255 from his prison trust fund account whenever funds are in the
account, without regard to the installment payment provisions of § 1915(b). Furthermore,
if Wellington files a notice of appeal, he must pay the entire fee within thirty days of filing
that notice. If he does not, this Court will notify the United States Court of Appeals for the
Sixth Circuit that he has failed to comply with the fee requirements and that Court will
dismiss his appeal. lt will not be reinstated thereafter even if he does pay the filing fee. _C__f._
MQQQ, 114 F.3d at 609-10.

As 28 U.S.C. § 1915(g) bars plaintiff from filing further i_n fr_)p__n_a 11th cases, it
is hereby ORDERED that Russell Wellington, prison registration number 122766, shall not
be permitted to file any further actions ip m Uip§@ without first obtaining leave of
Court.

Prior to the enactment of 28 U.S.C. § 1915(g), this Court had adopted the restrictions
articulated in Winslow v. Romer, 759 F. Supp. 670, 683-85 (D. Colo. 1991) as the model
for the Court's invocation of its inherent authority to impose sanctions lt is indisputable that

the district courts possess such authority g Chambers v. NASCO lnc., 501 U.S. 32, 43-

 

50 (199 l )(pre-PLRA case holding no constitutional right of access to the courts to prosecute
an action that is frivolous or malicious); Mercer v. Favette Circuit Court, 1995 WL 222181

(6th Cir. April 13, 1995)(pre-PLRA ease noting that appellant filed nine frivolous lawsuits

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arising out of state court prosecution); ln re Martin-Trigona, 737 F.2d 1254, 1261 (2d Cir.
l984)(pre-PLRA case holding courts possess inherent authority to sanction litigants for
abusive repetitive filings). M Gibson v. Gibbons, No. 97-2559-Ml/A (W.D. Tenn.
Aug. 14, l997)(invoking both § 1915(g) and court's inherent power to restrict prisoner's
filing privileges). Nothing in amended 28 U.S.C. § 1915(g) restricts this authority Further,
the Court concludes that 28 U.S.C. § 1915(g) lowers the threshold for the Court's use of this
inherent power. Accordingly, the Court will require that plaintiff comply with both 28
U.S.C. § 1915(g) and the further restrictions and conditions enunciated below.

To obtain leave of Court, Wellington must file an affidavit similar to that required by
the district court in Winslow, 759 F. Supp. at 683-85. Additionally, he must file any further
complaints on a form available from the Clerk of Court.

To request leave of Court, plaintiff shall file, along with any future complaint

1) a motion requesting permission of the Court to file;

2) an affidavit certifying under penalty of perjury:

a) that he has read and understood Rule l 1 of the Federal Rules of
Civil Procedure;

b) that the complaint contains claims he knows to be reasonably
based in law and fact;

c) that he is aware that filing any further frivolous actions Will
result in the imposition of additional sanctions by the Court;

d) that he is in imminent danger of serious physical injury
(describing in detail the nature of the danger, why it is
imminent, and the nature of the serious physical injury);

e) that either;

1) none of the defendants to_ the new action were
defendants in any previous action that was dismissed as
frivolous; B

2) that some of the defendants to the new action were
defendants in a previous action that was dismissed as
frivolous, but that the plaintiff has corn ared the claims
in the frivolous case with the claims in t e new case, and

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that he does not seek to sue_ those defendants on any
claims that could have been litigated in that case; and

f) that he has been sanctioned by this Court in this case, and state
the style, jurisdiction, and docket number of this action.

Any complaint submitted by plaintiff without this motion and affidavit will not be
filed but will be immediately returned to the plaintiff for failure to comply with this order.
Furthermore, the Court may then impose further sanctions against the plaintiff, including a
further monetary fine, which may be collected directly from his prison trust fund account,

The Clerk of Court is ORDERED not to file, open on this Court's docket, assign a
new docket number, or assign to a judge, any further case whatsoever submitted by this
plaintiff unless specifically directed to do so by a district judge or magistrate judge of this
district.

Finally, a copy of this order shall be sent to the TCIP Warden and to TDOC

Commissioner s

viz
IT IS SO ORDERED this Y day of June, 2005.

     

E D.T DD
TATES DISTRICT JUDGE

sTAEs DisrRiCT OURT - wEerNR D"isRiCT oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case l:04-CV-0133l was distributed by fax, mail, or direct printing on
June 22, 2005 to the parties listed.

 

 

Russell Wellington

122766

1499 R.W. Moore Memorial Highway
Only7 TN 37140--405

Honorable .l ames Todd
US DISTRICT COURT

